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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 1:16-CV-21575-MORENO/O’SULLIVAN



   ALEXANDRE DACCACHE, CARLOS
   ENRIQUE HILLER SANCHEZ, PHILIP
   CALDERWOOD, JOSE ANTONIO PIETRI,
   JOSE R. CASSERES-PINTO, TONGYI WANG,
   JAMES B. SHAW, JOHANNES EIJMBERTS,
   and LORNE MORRIS, on behalf of themselves
   and all others similarly situated,
          Plaintiffs,
   v.
   RAYMOND JAMES & ASSOCIATES, INC.,
   PEOPLE’S UNITED FINANCIAL, INC.,
   as successor-in-interest to Chittenden Trust Company,
   PEOPLE’S UNITED BANK, ARIEL QUIROS,
   WILLIAM STENGER, and JOEL BURSTEIN,
         Defendants.
   ____________________________________________/


               PLAINTIFFS’ RESPONSE TO DEFENDANT PEOPLE’S UNITED
                   FINANCIAL, INC. AND PEOPLE’S UNITED BANK’S
                   MOTION TO DISMISS THE AMENDED COMPLAINT

          Notwithstanding that People’s Bank knowingly and actively participated in the fraudulent
   scheme perpetrated by Quiros and others, it seeks dismissal of the Amended Complaint, arguing
   lack of personal jurisdiction and failure to state a claim. People’s Bank transferred investors’
   escrow funds in flagrant violation of the terms of the offering documents and escrow agreements,
   and in doing so, breached its agreements as well as fiduciary duties it owed to the investors. By
   this conduct, People’s Bank committed tortious acts in Florida and caused damage to Florida
   investors. People’s Bank is subject to personal jurisdiction in Florida, and the Amended Complaint
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   states claims against it for its misconduct as escrow agent for the Limited Partnerships. People’s
   Bank’s Motion to Dismiss should be denied. 1
                                                BACKGROUND
          This action is brought on behalf of a proposed class of 836 individuals who invested over
   $400 million in a series of related projects at the Jay Peak and Q Burke ski resorts in Vermont, as
   part of the EB-5 Immigrant Investor Program. (Am. Compl. ¶ 1.) Unbeknownst to investors,
   however, these projects operated as a fraudulent scheme by Defendant Ariel Quiros, who, together
   with co-Defendants Raymond James, Joel Burstein, William Stenger, and People’s Bank, diverted
   investor funds to Raymond James accounts controlled by Quiros. (Id.)
          Upon committing to a project, investors were required to deposit funds into project-specific
   escrow accounts maintained by People’s Bank. (Id. ¶¶ 1, 2, 99.) The Escrow Agreements and
   offering materials provided that People’s Bank would release the escrowed investor funds only to
   the specific limited partnership in which the investor had purchased an interest, not to another
   limited partnership or to Quiros, and only for development of the particular EB-5 Project
   applicable to that specific limited partnership, not for use by another limited partnership or by
   Quiros. (Id. ¶¶ 2, 100.) Instead, People’s Bank released the funds to accounts controlled by Quiros
   at Raymond James in violation of the terms of the agreements and offering materials. (Id. ¶ 2.)
   After these improper transfers by People’s Bank to Raymond James, the money was commingled
   and misappropriated to cover shortfalls on other projects, and to pay for Quiros’s personal
   expenses. (Id. ¶¶ 1, 2.) Defendants misappropriated more than $200 million in EB-5 Project
   investor funds, and the Jay Peak assets have no net value. (Id. ¶¶ 1, 69.) Plaintiffs bring this class
   action to recover their losses resulting from the Jay Peak and Q Burke Ponzi scheme. (Id. ¶ 8.)
          Jay Peak is a ski resort in the Green Mountains of Vermont, which was owned and operated
   by Mont Saint-Sauveur International, Inc. (“MSSI”) from 1978 until mid-2008. (Id. ¶ 50.) Quiros
   and Stenger began negotiating with MSSI to acquire and further develop the Jay Peak resort in


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     “People’s Bank” refers to Defendants, People’s United Financial, Inc. as successor-in-interest to
   Chittenden Trust Company, and People’s United Bank. As set forth in Section IV, infra, People’s
   United Financial, Inc. acquired Chittenden Trust Company, which served as the escrow agent for
   the Jay Peak and Q Burke Limited Partnerships (hereinafter referred to as the “Limited
   Partnerships” or the “EB-5 Projects”). Chittenden Trust Company then merged into People’s
   United Bank, after which People’s United Bank served as the escrow agent for the Limited
   Partnerships. The Amended Class Action Complaint will be referred to as the “Amended
   Complaint” and cited as (Am. Comp.).
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   2007. (Id. ¶ 51.) During the first half of 2008, Quiros met with Burstein, then the South Florida
   Complex Administrative Manager at Raymond James, and Frank Amigo, Burstein’s supervisor.
   (Id. ¶ 52.) During this meeting, Quiros, Burstein, and Amigo discussed a financial structure for
   the Limited Partnerships that would be created to fund the EB-5 Projects. (Id.)
          This financial structure was never disclosed in the offering materials provided to the
   investors. (Id.) Specifically, the offering materials omitted to disclose that each investor’s funds
   would be transferred from escrow accounts at People’s Bank or its predecessors to accounts at
   Raymond James over which Quiros would have exclusive control. (Id. ¶¶ 52-53.) The offering
   materials likewise omitted to disclose that Quiros’s control would allow him to manage and use
   investors’ deposits and capital contributions without any regard for the terms in the applicable
   offering materials or the specific project for which the investment was made. (Id. ¶ 53.)
           Burstein, Quiros, and Amigo made plans to finance the purchase of Jay Peak, Inc. from
   MSSI using a margin loan. (Id. ¶ 54.) Under this scheme, investor funds would first be used to
   purchase Treasury bills. (Id.) Raymond James would lend money to Quiros using Treasury bills,
   bought with investor money, as collateral for the margin loan. (Id.) Quiros could then borrow up
   to 90% of the value of the Treasury bills in the accounts of the Limited Partnerships at Raymond
   James. Investors were never told their money would be used as collateral for the loans. (Id.)
          Once MSSI and Q Resorts finalized the Jay Peak, Inc. stock transfer agreement on June
   13, 2008, Quiros, through his son-in-law, Burstein, opened brokerage accounts at Raymond James
   for each of the Limited Partnerships. (Id. ¶ 56.) People’s Bank transferred millions of dollars to
   these Raymond James accounts in violation of the offering documents for Phases I and II, which
   were used to fund the purchase of Jay Peak, Inc. (Id. ¶¶ 57-58, 106.) Specifically, People’s Bank
   made the following improper transfers with investor funds, contrary to the offering documents:
                 On June 16 and 17, 2008, in two separate transactions, People’s Bank transferred
                  $11 million from the Phase I Escrow Account at People's Bank to an MSSI Phase I
                  account at Raymond James. These funds were then transferred from the Phase I
                  account at Raymond James to Quiros's Phase I account at Raymond James.
                 On June 20, 2008, People’s Bank transferred $7 million from the Phase II Escrow
                  Account at People's Bank to the MSSI Phase II account at Raymond James. These
                  funds were then transferred from the Phase II account at Raymond James to
                  Quiros’s Raymond James account.
                 On September 4, 2008, People’s Bank transferred $1 million from the Phase II
                  Escrow Account at People’s Bank to the Phase II Investor account at Raymond
                  James.
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                 On September 15, 2008, People’s Bank transferred $3 million from the Phase II
                  Escrow Account at People’s Bank to the Phase II Investor account at Raymond
                  James.

                 On September 22, 2008, People’s Bank transferred $1.5 million from the Phase II
                  Escrow Account at People’s Bank to the Phase II Investor account at Raymond
                  James.

   (Id. ¶ 107.) These transfers were made by People’s Bank in violation of the Phase I and Phase II
   offering materials, which provided that the General Partners could only hold investor funds in
   bank accounts, and required the transferee bank accounts to be “insured by an agency of the
   federal government.” (Id. ¶ 106.) As a brokerage firm, Raymond James is not an FDIC-insured
   bank. (Id.)
          Additionally, People’s Bank transferred investor funds that it held in escrow for a specific
   EB-5 Project, to brokerage accounts held at Raymond James that were designated for another
   phase of an EB-5 Project. For example:
                 On July 1, 2008, $1 million was transferred from the Phase I escrow account at
                  People’s Bank to the Q Resorts account at Raymond James.
                 On July 1, 2008, $600,000 was transferred from the Phase II escrow account at
                  People’s Bank to the Q Resorts account at Raymond James.
                 On October 3, 2011, $49,000 was transferred from the Phase III escrow account at
                  People’s Bank to the Phase I investor account at People’s Bank.
                 On February 23, 2012, $62,000 was transferred from the Phase I escrow account at
                  People’s Bank to the Phase II investor account at People’s Bank.

   (Id. ¶ 107.) These and other improper transfers were made by People’s Bank to Raymond James
   in Florida. (Id. ¶¶ 57, 67, 107, 350, 356.) People’s Bank knew that these transfers were improper
   because the Limited Partnership Agreement for each Limited Partnership required that upon
   release of an investor’s capital contributions to a Limited Partnership the investment was to be
   “immediately and irrevocably” committed to a specific EB-5 Project. (Id. ¶ 108). The significant
   number of transfers in and out of the People’s Bank escrow accounts to effect commingling of
   partnership funds and transfers to a non-bank alerted People’s Bank to illegal conduct in the
   administration and use of investor funds. (Id.)
          The standardized offering materials for the EB-5 Projects – including the offering
   memorandum, subscription documents, business plan, and Limited Partnership Agreement – were
   designed to conceal Defendants’ fraudulent scheme and lull investors into believing that their
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   investments were protected. (Id. ¶ 91.) The offering materials given to every investor described
   the particular project in which they were investing, the purpose for which their investment would
   be used, and touted the likely success of the project. (Id.) None of the offering materials disclosed
   that the monies invested in the Limited Partnerships were being and would be misused and
   commingled, or used for Quiros’s personal benefit. (Id. ¶ 94.)
          Plaintiffs bring a claim against People’s Bank for aiding and abetting Quiros’s fraud based
   on the following allegations:
                 Throughout much of the ten-year business relationship from 2006-2015, Stenger
                  was in frequent contact with People’s Bank employees, as Quiros’s agent.
                 Throughout the relationship, People’s Bank knew that each of the Limited
                  Partnerships was participating in the EB-5 Program, and, therefore, at all times they
                  also knew that the investors would be unaware that their capital contributions would
                  be spent on anything other than the EB-5 Project that the Limited Partnership was
                  formed to create.
                 Throughout the relationship, People’s Bank received certain offering materials
                  from Stenger, including, without limitation, escrow and subscription agreements
                  signed by each investor, which offering materials made clear that People’s Bank
                  was acting as escrow agent for each of the Limited Partnerships.
                 During 2008, People’s Bank knew from offering materials that investors were
                  unaware that their capital contributions were being commingled or disposed of for
                  any reason other than completion of the EB-5 Project for which the Limited
                  Partnership was formed.
                 Beginning in 2008, People’s Bank learned that the offering materials for each of
                  the Limited Partnerships were deceptive in that these documents did not disclose
                  that the capital contributions were being commingled.
                 During 2008, People’s Bank learned that the offering materials for each Limited
                  Partnership were deceptive as they failed to disclose that the capital contributions
                  escrowed with People’s Bank were being used for purposes unrelated to the
                  completion of the EB-5 Project for which the Limited Partnership was formed.
                 During 2008, People’s Bank learned that the offering materials for Phases I, II and
                  III were deceptive in that these documents did not disclose that the monies were
                  being released from escrow for transfer to a brokerage firm instead of a federally-
                  insured bank.
                 People’s Bank lent an air of legitimacy to the fraud in that People’s Bank told
                  investors that their investments were being held in escrow and would only be
                  applied towards completion of the EB-5 Project in which they invested.
                 People’s Bank released monies escrowed for investors in accounts designated for
                  particular Limited Partnerships to accounts at Raymond James designated for the

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                  same or different Limited Partnerships that were controlled by Quiros. People’s
                  Bank executed these transfers knowing that investors’ subscription agreements did
                  not allow for the transfer of investor funds to brokerage accounts, and knowing that
                  the escrowed funds should not be transferred to funds designated for Limited
                  Partnerships other than the ones selected by individual investors.
                 By participating in hundreds of transactions of this type, People’s Bank assisted in
                  the misuse and commingling of the capital contributions that Quiros had obtained
                  by fraud against the investors.
                 Even though People’s Bank was an escrow agent with fiduciary duties to the
                  investors, it never made any attempt to alert any of the investors to the fraud.
   (Id. ¶¶ 256-257.)
          Plaintiffs also assert a claim against People’s Bank for aiding and abetting the breach of
   fiduciary duty by the General Partners of the Limited Partnerships, who owed a direct fiduciary
   duty to the Limited Partners in light of the contractual commitment in the Limited Partnership
   Agreements not to “borrow from the Partnership or commingle Partnership funds with the funds
   of any Person” without the consent of the Limited Partners. (Id. ¶¶ 274–80.)
          Plaintiffs further allege that People’s Bank conspired with the other Defendants in
   perpetrating its fraudulent scheme. Specifically, People’s Bank made an agreement in the first
   half of 2008 with Raymond James, Burstein, and Quiros to induce Plaintiffs and the Class to invest
   millions of dollars into the Limited Partnerships and to commit fraud and fiduciary breaches. (Id.
   ¶ 284.) In furtherance of this conspiracy, People’s Bank released investors’ funds to Raymond
   James despite knowing that the transfers violated investors’ subscription agreements and escrow
   obligations owed by People’s Bank to the investors. (Id. ¶ 285.)
          Finally, Plaintiffs assert claims against People’s Bank for negligence, breach of fiduciary
   duty, and breach of contract stemming from People’s Bank’s breaches in connection with releasing
   escrowed funds to improper accounts and non-bank financial institutions and into accounts that
   were not under the control of the General Partners, and by failing to notify Plaintiffs and the Class
   of suspicious activity occurring in connection with the escrowed funds. (Id. ¶¶ 295–315.)
          The tortious acts committed by People’s Bank were committed in Florida. People’s Bank
   wrongfully released investor funds to Raymond James accounts in Florida. (Id. ¶¶ 2, 47, 73–74,
   81, 83, 104–05, 350, 356.) The actions of People’s Bank also caused damage to investors in
   Florida. (Id. ¶ 47.) Plaintiffs Daccache, Sanchez, Calderwood, and Pietri all reside in and were
   damaged in Florida. (Id. ¶¶ 9–12, 140–43, 150, 152–54, 161, 163–64, 171, 173–74, 181.)


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                                              ARGUMENT
   I.     People’s Bank is Properly Subject to Personal Jurisdiction in Florida
          “A plaintiff seeking to establish personal jurisdiction over a nonresident defendant bears
   the initial burden of alleging in the complaint sufficient facts to make out a prima facie case of
   jurisdiction.” Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013).
   When a defendant such as People’s Bank challenges personal jurisdiction “by submitting affidavit
   evidence in support of its position, the burden traditionally shifts back to the plaintiff to produce
   evidence supporting jurisdiction.” Id. (quoting Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir.
   1990)). “The burden, however, does not shift back to the plaintiff when the defendant’s affidavits
   contain only conclusory assertions that the defendant is not subject to jurisdiction.” Id.
          Here, the affidavits submitted by People’s Bank [DE 112, 113] do not rebut or deny the
   relevant jurisdictional allegations. Instead, People’s Bank refers to every possible contact with the
   Jay Peak investors other than its critical contacts with Florida. The affidavits speak to the fact
   that People’s Bank is not registered to do business in Florida and has no offices in Florida [DE 112
   ¶¶ 3, 6], that the escrow agreements were prepared by employees in Vermont and that all notices
   relating to the agreements were received in Vermont [DE 113 ¶¶ 4–5], and that decisions
   concerning the agreements and all transfers of funds were made from and in Vermont or
   Connecticut [id. ¶ 6]. But the affidavits say nothing about the fiduciary relationships People’s
   Bank entered into with Florida investors or the transfers of funds by People’s Bank into Florida
   (through Raymond James) in furtherance of Quiros’s scheme. Such affidavits do not address the
   allegations of Plaintiffs’ Complaint and are insufficient to shift the burden back to Plaintiffs to
   produce evidence supporting jurisdiction.2
          The allegations of the Complaint establish a prima facie case of jurisdiction over People’s
   Bank. See Posner v. Essex Ins. Co., 178 F.3d 1209, 1216 (11th Cir. 1999) (plaintiff “alleged facts,
   unrebutted by Salem, that established a prima facie case of jurisdiction over Salem”); see also
   Mosseri, 736 F.3d at 1351. Plaintiffs’ unrebutted allegations must thus be accepted as true. See
   eLandia Int’l, Inc. v. Ah Koy, 690 F. Supp. 2d 1317, 1327 (S.D. Fla. 2010) (Moreno, J.) (analyzing
   personal jurisdiction and reasoning that “on a motion to dismiss the court must find any


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     Moreover, to the extent the affidavits speak to general personal jurisdiction under the Florida
   long-arm statute (e.g., having offices or doing business in Florida), they are irrelevant. As set forth
   below, Plaintiffs argue in support of specific personal jurisdiction, not general.
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   uncontroverted facts alleged in the plaintiff’s complaint to be true.”); Sierra Equity Grp., Inc. v.
   White Oak Equity Partners, LLC, 650 F. Supp. 2d 1213, 1222 (S.D. Fla. 2009). Moreover, the
   Eleventh Circuit follows the doctrine of pendent personal jurisdiction, which provides that “[i]f
   the forum’s long-arm statute provides jurisdiction over one claim, the district court has personal
   jurisdiction over the entire case so long as the claims arose from the same jurisdiction generating
   event.” eLandia Int’l, 690 F. Supp. 2d at 1341; see also Exhibit Icons, LLC v. XP Co., LLC, 609
   F. Supp. 2d 1282, 1288 (S.D. Fla. 2009). Thus, if the long-arm statute provides jurisdiction over
   any cause of action or any specific investor’s claim based on the unrebutted allegations of the
   Complaint, the Court has jurisdiction over People’s Bank for the entire case.
          To determine whether this Court has personal jurisdiction over People’s Bank, the Court
   must undertake a two-part analysis: (1) whether personal jurisdiction exists under Florida’s long-
   arm statute, and (2) if so, whether that exercise of jurisdiction would violate the Due Process
   Clause of the Fourteenth Amendment to the U.S. Constitution. See Barnett v. Carnival Corp., No.
   06-22521-CIV, 2007 WL 1526658, at *1 (S.D. Fla. May 23, 2007) (O’Sullivan, J.) (citing
   Sculptchair v. Century Arts, Ltd., 94 F.3d 623, 626 (11th Cir. 1996)). Both prongs of the
   jurisdictional analysis are met here as to all claims against People’s Bank.
          A.      Personal Jurisdiction Exists Over People’s Bank Under Florida’s Long-Arm
                  Statute
          Florida’s long-arm statute provides for both general and specific personal jurisdiction. See
   Fla. Stat. § 48.193(1)-(2). Here, Plaintiffs allege that specific personal jurisdiction is proper over
   People’s Bank pursuant to the “tortious acts within Florida” provision in § 48.193(1)(a)(2).
          “[S]pecific personal jurisdiction authorizes jurisdiction over causes of action arising from
   or related to the defendant’s actions within Florida and concerns a nonresident defendant’s contacts
   with Florida only as those contacts related to the plaintiff’s cause of action.” See Mosseri, 736
   F.3d at 1352–53. “Just a single act by a non-resident defendant directed to a forum state can be
   enough to confer specific personal jurisdiction if the act gave rise to the cause of action at issue.”
   Sierra Equity Grp., 650 F. Supp. 2d at 1225. Moreover, “[i]t is . . . well recognized that intentional
   torts are classic examples of such acts that give rise to jurisdiction over a non-resident defendant
   who has no other contacts with the forum state.” eLandia Int’l, 690 F. Supp. 2d at 1338.
          Section 48.193(1)(a)(2) provides that a nonresident defendant is subject to personal
   jurisdiction in Florida “for any cause of action arising from ... [c]omitting a tortious act within
   [Florida].” Fla. Stat. § 48.193(1)(a)(2). “A nonresident defendant commits ‘a tortious act within
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   [Florida]’ when he commits an act outside the state that causes injury within Florida.” Mosseri,
   736 F.3d at 1353–54 (citing Posner, 178 F.3d at 1216–17 (collecting Florida cases and adopting
   Florida courts’ broad interpretation of the long-arm statute that permits personal jurisdiction over
   nonresident “defendants committing tortious acts outside the state that cause injury in Florida”)).
   “The tort-feasor’s physical presence in Florida is not required to obtain personal jurisdiction.”
   Sierra Equity Grp., 650 F. Supp. 2d at 1222–25 (citing Horizon Aggressive Growth, L.P. v.
   Rothstein–Kass, P.A., 421 F.3d 1162, 1168 (11th Cir. 2005)); see also eLandia Int’l, 690 F. Supp.
   2d at 1329.
          Here, Plaintiffs assert five tort claims against People’s Bank: aiding and abetting fraud,
   aiding and abetting breach of fiduciary duty, conspiracy to commit fraud and breach of fiduciary
   duty, negligence, and breach of fiduciary duty. In support of these claims, Plaintiffs allege that:
                 People’s Bank released monies escrowed for investors (including Florida
                  investors) in accounts designated for particular Limited Partnerships to
                  accounts at Raymond James in Florida designated for the same or different
                  Limited Partnerships that were controlled by Quiros (a Florida resident).
                 People’s Bank executed these transfers knowing that investors’ subscription
                  agreements did not allow for the transfer of investor funds to brokerage
                  accounts controlled by Quiros, and knowing that the escrowed funds should
                  not be transferred to funds designated for Limited Partnerships other than
                  the ones selected by individual investors.
                 By participating in hundreds of transactions of this type, People’s Bank
                  assisted in the misuse and commingling of the capital contributions that
                  Quiros had obtained by fraud against the investors.
                 Even though People’s Bank was an escrow agent with fiduciary duties to
                  investors (including Florida investors), it never made any attempt to alert
                  any of the investors to the fraud committed by Quiros.
                 People’s Bank released investors’ funds to Raymond James in Florida
                  despite knowing that said transfers violated investors’ subscription
                  agreements and escrow obligations owed by People’s Bank to the investors,
                  including Florida investors.

   (Am. Compl. ¶¶ 256–57, 285.)
          As a threshold matter, determining whether the requirements of the long-arm statute have
   been met under these facts requires a determination of whether the evidence demonstrates that
   People’s Bank committed the alleged torts at issue — merits determinations that are “the very




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   contested issues to be resolved in trying the cause of action.” Sierra Equity Grp., 650 F. Supp. 2d
   at 1232.
          In situations “[w]here the jurisdictional issues are intertwined with the substantive
          merits, ‘the jurisdictional issues should be referred to the merits, for it is impossible
          to decide one without the other.’” Eaton v. Dorchester Dev., Inc., 692 F.2d 727,
          733 (11th Cir. 1982) quoting Chatham Condo. Assocs. v. Century Village, Inc., 597
          F.2d 1002, 1011 (5th Cir.1979). Reaching the merits requires developing a full
          factual record relating to jurisdictional issues. See id. at 729 (“federal courts have
          the power to order, at their discretion, the discovery of facts necessary to ascertain
          their competency to entertain the merits”).
   Id. (footnotes omitted) (citing Nissim Corp. v. ClearPlay, Inc., 351 F. Supp. 2d 1343 (S.D. Fla.
   2004)). Because the jurisdictional issues here are intertwined with the substantive merits, the
   Court may reserve ruling on the jurisdictional issues until the decision on the merits. But even at
   the pleading stage, the Complaint has alleged sufficient tortious acts committed by People’s Bank
   in Florida as a basis for Florida long-arm jurisdiction under § 48.193(1)(b), Fla. Stat.
          Recent authority from this Court further supports an exercise of personal jurisdiction over
   People’s Bank under the long-arm statute. In eLandia Int’l, this Court analyzed claims for breach
   of fiduciary duty, aiding and abetting breach of fiduciary duty, and conspiracy under the
   “committing a tortious act” provision of the long-arm statute,3 and broadly construed the statute
   as permitting personal jurisdiction over those who commit a tortious act outside the state that
   results in harm inside the state. See 690 F. Supp. 2d at 1328–29. The Court accordingly reasoned
   that if a director breached a fiduciary duty to a Florida entity, then that individual is subject to
   jurisdiction under the long-arm statute because “the fiduciary duties he owed were owed to a
   Florida corporation” so “Florida jurisdiction clearly attaches.” Id. at 1329–30.
          The same application of the long-arm statute applies here. People’s Bank did not have an
   ordinary banking relationship with Plaintiffs and the Class. Instead, People’s Bank acted as a
   fiduciary by serving as an escrow agent, and owed a fiduciary duty to Florida investors. See
   Tambourine Comercio Internacional SA v. Solowsky, 312 F. App’x 263, 281 (11th Cir. 2009) (an
   escrow agent acts as a fiduciary); see also Oginsky v. Paragon Props. of Costa Rica LLC, 784 F.
   Supp. 2d 1353, 1375 (S.D. Fla. 2011) (same). When People’s Bank breached that duty, it caused
   damage in Florida to Florida investors. (Am. Compl. ¶¶ 9–12, 47, 140–43, 150, 152–54, 161, 163–


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     Although eLandia, Int’l analyzed an older version of the long-arm statute, subsection
   48.193(1)(b), which is now 48.193(1)(a)(2), the substance of the subsection is unchanged.
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   64, 171, 173–74, 181.) People’s Bank is accordingly subject to personal jurisdiction under the
   Florida long- arm statute. See eLandia Int’l, 690 F. Supp. 2d at 1331 (“If an individual commits
   an act that aids and abets a breach of fiduciary duty outside of Florida that causes harm to a
   company located in Florida, the individual is subject to personal jurisdiction under the Florida
   long-arm statute.”).
          With respect to the conspiracy claim, “Florida courts apply the co-conspirator rules used
   in criminal conspiracies to civil conspiracies. If an individual successfully alleges that any member
   of a conspiracy committed tortious acts in Florida in furtherance of the conspiracy, then all of the
   conspirators are subject to personal jurisdiction in Florida.” eLandia Int’l., 690 F. Supp. 2d at
   1330 (citing Horizon Aggressive Growth, L.P. v. Rothstein–Kass, P.A., 421 F.3d 1162, 1169 (11th
   Cir. 2005)). Here, Plaintiffs allege that Defendants Raymond James, Burstein, and Quiros all
   committed tortious acts in Florida in furtherance of the conspiracy. (Am. Compl. ¶¶ 2, 4, 52–66,
   72–79, 81–90, 114–22, 319, 327, 341–42, 364.) Thus, all of the conspirators, including People’s
   Bank, are subject to personal jurisdiction in Florida.4
          B.      The Exercise of Jurisdiction Over People’s Bank Does Not Violate Due Process
          In specific personal jurisdiction cases the Court applies the three-part due process test,
   which examines (1) whether the plaintiff’s claims “arise out of or relate to” at least one of the
   defendant’s contacts with the forum; (2) whether the nonresident defendant “purposefully availed”
   himself of the privilege of conducting activities within the forum state, thus invoking the benefit
   of the forum state’s laws; and (3) whether the exercise of personal jurisdiction comports with
   “traditional notions of fair play and substantial justice.” See Mosseri, 736 F.3d at 1355. Plaintiffs
   bear the burden of establishing the first two prongs, and if they do so, People’s Bank “must make
   a ‘compelling case’ that the exercise of jurisdiction would violate traditional notions of fair play
   and substantial justice.” Id.
          As to the first prong, “arising out of” or “relatedness,” the relevant inquiry focuses on “the
   direct causal relationship between the defendant, the forum, and the litigation.” Mosseri, 736 F.3d
   at 1355–56. Here, Plaintiffs’ claims arise out of People’s Bank’s contacts with Florida. People’s


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    People’s Bank relies on Sokolowski v. Erbey, 2015 U.S. Dist. LEXIS 180508 (S.D. Fla. Dec. 8,
   2015) for the proposition that jurisdiction is improper with respect to the conspiracy claim because
   Plaintiffs have not identified any act committed in Florida by any of the defendants in furtherance
   of the scheme. This argument ignores the ample allegations of the Amended Complaint that
   People’s Bank’s tortious conduct was directed to Florida investors and caused damage in Florida.
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   Bank’s ties to Florida involve fiduciary duties owed to Florida investors and transfers of funds by
   People’s Bank into Florida in furtherance of Quiros’s fraud. There is a direct causal relationship
   between People’s Bank, Florida, and Plaintiffs’ claims. This first requirement is easily satisfied.
           As to the second prong, purposeful availment, the Court assesses the nonresident
   defendant’s contacts with the forum state and asks whether those contacts (1) are related to the
   plaintiff’s cause of action, (2) involve some act by which the defendant purposefully availed
   himself of the privileges of doing business within the forum, and (3) are such that the defendant
   should reasonably anticipate being haled into court in the forum. See S.E.C. v. Carrillo, 115 F.3d
   1540, 1542 (11th Cir. 1997). In performing this analysis, the Court identifies all contacts between
   People’s Bank and Florida, and asks whether, individually or collectively, those contacts satisfy
   these criteria.
           Based on the allegations of the Amended Complaint, People’s Bank purposefully availed
   itself of the Florida forum in such a way that it could reasonably foresee being haled into a Florida
   court by breaching duties owed to Florida investors and transferring escrowed funds into Florida
   in furtherance of Quiros’s fraudulent scheme. These collective contacts establish that People’s
   Bank purposefully availed itself of the privileges of doing business in Florida. See Mosseri, 736
   F.3d at 1357; see also eLandia Int’l, 690 F. Supp. 2d at 1338–39 (concluding that defendants
   should have reasonably anticipated being haled into court in Florida based on, among other things,
   the fact that they knowingly conspired “to violate fiduciary duties owed” in Florida, and their
   alleged tortious activity caused injury in Florida).
           The exercise of personal jurisdiction over People’s Bank in Florida also satisfies the third
   prong, in that it comports with traditional notions of fair play and substantial justice. In this
   analysis the Court considers (1) “the burden on the defendant,” (2) “the forum’s interest in
   adjudicating the dispute,” (3) “the plaintiff’s interest in obtaining convenient and effective relief,”
   and (4) “the judicial system’s interest in resolving the dispute.” See Mosseri, 736 F.3d at 1358.
           People’s Bank has not offered any evidence of its finances or any other limitations to show
   that it would be burdened by having to litigate the case in Florida. In light of People’s Bank’s
   tortious conduct targeting and causing damage to Florida investors, Florida has a strong interest in
   hearing the case and protecting Florida victims of a fraud. See Mosseri, 736 F.3d at 1358; see also
   Sierra Equity Grp., 650 F. Supp. 2d at 1227 (“Florida has a strong interest in adjudicating a dispute
   that involves a Florida corporation and a tort directed into Florida.”); eLandia Int’l, 690 F. Supp.

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   2d at 1339 (“Florida has a very strong interest in affording its residents a forum to obtain relief
   from intentional misconduct by nonresidents causing injury in Florida.”). Moreover, Plaintiffs,
   some of whom are Florida residents who were damaged in Florida, have an undeniable interest in
   litigating the case in their chosen forum. (Am. Compl. ¶¶ 9–12, 47, 140–43, 150, 152–54, 161,
   163–64, 171, 173–74, 181); see also Mosseri, 736 F.3d at 1358. Accordingly, People’s Bank is
   subject to personal jurisdiction in Florida.
   II.    People’s Bank Breached the Escrow Agreements by Improper Transfers of Funds
          People’s Bank argues that it did not breach any provision of the Escrow Agreements, and
   attaches a representative agreement as Exhibit A to its Motion to Dismiss.             The Escrow
   Agreements provide in paragraph 4(b) that after the investor deposits into escrow the initial deposit
   and the balance of the investment and administrative fees, and the Escrow Agent receives a copy
   of the executed Subscription Documents, then the Escrow Agent “shall immediately release all
   Escrow Funds received by the Investor to the Limited Partnership….” (Emphasis added.)
   People’s Bank breached this agreement in that it released investor funds “to accounts not
   controlled by the Limited Partnership for which the funds were placed in escrow.” (Am. Compl.
   ¶ 313.) For instance:
                 On July 1, 2008, $1 million was transferred from the Phase I escrow account at
                  People’s Bank to the Q Resorts account at Raymond James.
                 On July 1, 2008, $600,000 was transferred from the Phase II escrow account at
                  People’s Bank to the Q Resorts account at Raymond James.
                 On October 3, 2011, $49,000 was transferred from the Phase III escrow account at
                  People’s Bank to the Phase I investor account at People’s Bank.
                 On February 23, 2012, $62,000 was transferred from the Phase I escrow account
                  at People’s Bank to the Phase II investor account at People’s Bank.
   (Id. ¶ 107, emphasis added.) Further, People’s Bank transferred escrow funds in violation of the
   Phase I and Phase II offering materials, which provided that the General Partners could only hold
   investor funds in bank accounts, and required the transferee bank accounts to be “insured by an
   agency of the federal government.” (Id. ¶ 106.) As a brokerage firm, Raymond James is not an
   FDIC-insured bank. (Id.)5 The transfer of funds to a brokerage firm facilitated the commingling

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     People’s Bank’s argument on page 9 of its Motion to Dismiss that Raymond James is a bank is
   inaccurate. Raymond James Bank is a separate corporation from the Defendant, Raymond James
   & Associates, Inc., which is a brokerage firm and is not FDIC-insured.
   http://www.raymondjames.com/capitalmarkets/raymond_james_bank.htm.
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   of investor funds and the improper margining of investor funds by Quiros. (Id. ¶¶ 53-55.) People’s
   Bank is liable for its breach of the Escrow Agreements.
          People’s Bank argues that because Plaintiffs have alleged improper transfers relating only
   to Phases I through III, the Plaintiffs who invested in Phases IV through VIII lack standing.
   However, Plaintiffs allege that Quiros used investor funds from later phases to pay off margin
   loans that were collateralized by funds from Phases I through III. For instance, Plaintiffs allege
   that Quiros used millions of investor funds from Phases I through V to pay down Margin Loan III,
   which was a consolidation of margin loans collateralized by Phases I and II. (Id. ¶¶ 78-82.)
   Thereafter, Quiros took out Margin Loan IV, pledging investor funds from Phases V and VI as
   collateral for the loans. Quiros took funds from the Phase VII account at Raymond James and sent
   them to People’s Bank, which transmitted the funds to a Quiros-affiliated account at Raymond
   James to pay off Margin Loan IV. The pay-down and pay-off of this margin loan were major
   contributors to the shortfall in Phase VII. (Id. ¶¶ 85-89.) Thus, People’s Bank’s improper transfers
   of investor funds from earlier phases caused damages to investors in later phases as well.
   III.   Plaintiffs’ Claims Are Not Time-Barred
          People’s Bank’s argument that under Vermont law, most of Plaintiffs’ claims are time-
   barred, is also misplaced. While Plaintiffs’ claim for breach of the Escrow Agreement may be
   governed by Vermont law based on the terms of the agreement, the choice of law analysis for the
   tort claims would apply Florida’s “most significant relationship test.” (Motion to Dismiss, at 12 n.
   7.) As courts have noted, it is premature at the motion to dismiss stage to apply such an analysis.
   See Mukamal v. Cosmos, Inc., No. 09-36379, 2013 Bankr. LEXIS 5664 (Bankr. S.D. Fla. July 30,
   2013) (because Florida’s “significant relationship” test is a fact-intensive inquiry, it is generally
   inappropriate for a court to make a choice of law determination at the motion to dismiss stage);
   Court-Appointed Receiver of Lancer Mgmt. Group LLC v. Lauer, No. 05-60584, 2010 WL
   1372442 (S.D. Fla. March 31, 2010) (declining to engage in choice of law analysis at motion to
   dismiss stage to find plaintiff’s claims time-barred by Florida’s statute of limitations).
          Regardless, a choice of law analysis is unnecessary because Plaintiffs’ claims are not time-
   barred under either Florida or Vermont law. Thus, no “true conflict” exists because the laws of
   both states would not produce a different result. See Cooper v. Meridian Yachts, Ltd., 575 F.3d
   1151, 1171 (11th Cir. 2009).



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          People’s Bank asserts that under Vermont law, the claims of investors in Phase II are time-
   barred because the latest transfer of funds about which Plaintiffs complain occurred on September
   2, 2008. (Am. Compl. ¶107.) This analysis is flawed because in that same paragraph, Plaintiffs
   allege a wrongful transfer as late as February 2012, from the Phase I escrow account at People’s
   Bank to the Phase II investor account at People’s Bank. (Id.) Plaintiffs further allege wrongful
   transfers by People’s Bank relating to the pay-down and pay-off of Margin Loan IV as late as
   March 5, 2014. (Id. ¶89.) Due to the commingling of funds and use of later phase funds to pay
   margin loans collateralized by funds of earlier phases, these wrongful transfers harmed all
   investors. Thus, applying Vermont’s six-year statute of limitations, see 12 V.S.A. §551, Plaintiffs
   timely filed their initial Complaint on May 3, 2016.
          Moreover, the Vermont Supreme Court has held that the “discovery rule” applies to toll
   the running of the statute of limitations under cases governed by 12 V.S.A. §511. See Univ. of
   Vermont v. W.R. Grace, 565 A.2d 1354, 1357 (Vt. 1989). Under the discovery rule, a cause of
   action accrues for purposes of a §511 claim when the plaintiff “discovers, or, in the exercise of
   reasonable diligence, should have discovered both the fact of his injury and the cause thereof.” Id.
   (Citation omitted). See also Kaplan v. Morgan Stanley & Co., 987 A.2d 258, 262 (Vt. 2009).
   Plaintiffs allege that they “did not and could not have discovered the facts constituting Defendants’
   violations until the SEC and Vermont Department of Financial Regulations complaints were made
   available to the public on April 14, 2016.” (Am. Compl. ¶ 224.) Thus, under Vermont law,
   Plaintiffs’ claims accrued, at the earliest, on April 14, 2016, and are all timely. To the extent there
   is a dispute on this issue, the Vermont Supreme Court has “repeatedly and consistently emphasized
   that the question of when an injury reasonably should have been discovered ‘is one of fact to be
   determined by the jury.’” Clare v. Abate, 80 A.3d 578, 581 (Vt. 2013) (citing cases).
          Plaintiffs’ claims are also timely under Florida’s statute of limitations. Florida recognizes
   an exception to the statute of limitations defense for continuing torts. See Seaboard Air Line R.R.
   v. Holt, 92 So. 2d 169 (1956). Whether the continuing tort doctrine applies is a question of fact to
   be determined by the jury. See Halkey-Roberts Corp. v. Mackal, 641 So. 2d 445, 447 (Fla. 2d
   DCA 1994); Laney v. Am. Equity Inv. Life Ins. Co., 243 F. Supp. 2d 1347, 1357 (M.D. Fla. 2003).
   Under the continuing tort doctrine, “the limitations period runs to the date the tortious conduct
   ceases.” Spadaro v. City of Miramar, 855 F. Supp. 2d 1317, 1330 (S.D. Fla. 2012); Millender v.
   State DOT, 774 So. 2d 767, 769 (Fla. 1st DCA 2000). Where Plaintiffs allege wrongful transfers

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   by People’s Bank as late as March 5, 2014 (Am. Compl. ¶ 89), Plaintiffs’ claims brought on May
   3, 2016, are timely, even applying a four-year statute of limitations under Florida law.6
   IV.    PLAINTIFFS STATE CLAIMS AGAINST PEOPLE’S UNITED FINANCIAL
          Plaintiffs allege in the Amended Complaint that People’s United Financial acquired the
   Chittenden Corporation, the bank holding company for the Chittenden Trust Company, on January
   2, 2008. At that time, the Chittenden Trust Company acted as escrow agent for the investor funds
   for the EB-5 Projects. Thus, People’s United Financial is liable as successor-in-interest for the
   actions of the Chittenden Trust Company from the date of the acquisition through the date of the
   consolidation of the Chittenden Trust Company into People’s United Bank. (Am. Compl.¶ 19.)
          People’s United Bank is a federally chartered savings bank and a subsidiary of People’s
   United Financial. Sometime between January 1, 2009 and July 2010, the Chittenden Trust
   Company was consolidated into People’s United Bank. After the merger, People’s United Bank
   acted as escrow agent for the EB-5 Projects. (Id. ¶ 20.) Although People’s Bank attempts to
   factually dispute these allegations (Motion to Dismiss, at 14), such a factual dispute may not be
   resolved on a motion to dismiss.7 See Rohde v. Bank of Am., N.A., 591 F. App'x 932, 933 (11th
   Cir. 2015). Further, there is no improper “lumping,” where Plaintiffs provide specific dates for
   their allegations of improper transfers of escrow funds.
   V.     THE ECONOMIC LOSS RULE DOES NOT BAR PLAINTIFFS’ CLAIMS
          People’s Bank next argues that Vermont’s economic loss rule bars Plaintiffs’ tort claims.
   However, under both Vermont and Florida law, Plaintiffs’ claims are not barred by the economic
   loss rule because they arise from a duty of care independent of any contractual obligation.



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     Although Vermont has not formally adopted the continuing tort doctrine, the Vermont Supreme
   Court has acknowledged that a variation of the doctrine may exist for discrimination cases, see
   Lee v. Univ. of Vt., 800 A.2d 444, 445-46 (Vt. 2002), and has not foreclosed the possibility that it
   would recognize the doctrine in the appropriate case. See State v. Atl. Richfield Co., No. 2015-
   201, 2016 WL 3031662, at *6 n.6 (Vt. May 27, 2016) (because the application of the continuing
   tort doctrine under Vermont law was not subject to the appeal, court leaves the issue “for another
   day”); Gettis v. Green Mountain Econ. Dev. Corp., 892 A.2d 162, 169 (Vt. 2005) (“We need not
   determine whether we would adopt the continuing tort doctrine to determine statute-of-limitations
   accrual outside of discrimination cases because it would not help plaintiffs in this case”).
   7
     Plaintiffs’ allegations regarding the relationship of these entities are based on publicly-available
   information obtained from excerpts of People’s United Financial’s 10-Q filed May 11, 2009, found
   at: www.wikinvest.com.stock/People’s_United_Financial_(PBCT)/Acquisition.
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           Vermont law recognizes an exception to the economic loss rule that purely economic losses
   may be recoverable where the parties have a special relationship that creates a duty of care
   independent of the parties’ contract obligations. See Walsh v. Cluba, 117 A.3d 798, 809 (Vt. 2015)
   (special relationship, most often a professional relationship such as doctor-patient or attorney-
   client, is such that it “automatically trigger[s] an independent duty of care that supports a tort action
   even when the parties have entered into a contractual relationship”); Long Trail House Condo.
   Ass’n v. Engelberth Const,, Inc., 59 A.3d 752, 756-57 (Vt. 2012) (exception to economic loss rule
   where parties have “a special relationship, which creates a duty of care independent of contract
   obligations”). As an escrow agent, People’s Bank owed Plaintiffs a fiduciary duty, which includes
   a duty to disclose known fraud. See Powell v. H.F.F. P’ship, 793 F. Supp. 91, 93 (D. Vt. 1992)
   (rejecting bank’s argument that its duties as escrow agent are limited by express terms of the
   escrow agreement; regardless of express terms of agreement, escrow agent’s duty to its principal
   includes the obligation to disclose information about a known fraud being committed on the
   principal). The cases cited by People’s Bank are inapposite, as they do not involve a special
   relationship that imposes an independent duty on the defendant. See, e.g., Long Trail House, 59
   A.3d at 758 (no special relationship between condominium association and general contractor);
   Hamill v. Pawtucket Mut. Ins. Co., 892 A.2d 226, 231 (Vt. 2005) (no special relationship between
   independent adjuster and homeowner).
           The economic loss rule similarly does not bar Plaintiffs’ claims under Florida law. In Tiara
   Condo. Ass’n v. Marsh & McLennan Cos., 110 So. 3d 399, 400 (Fla. 2013), the Florida Supreme
   Court unequivocally held that the economic loss rule is limited to products liability cases. Thus,
   the economic loss rule has no application to this case under Florida law. Further, the tort claims
   against People’s Bank arise from duties arising outside the Escrow Agreement, in that like
   Vermont, Florida courts recognize that an escrow agent owes an independent, fiduciary duty as a
   matter of law. See Oginsky, 784 F. Supp. 2d at 1375-76 (escrow agents have a duty to exercise
   reasonable skill and ordinary diligence, and a duty to disclose all material facts); Mahdevieh v.
   Suntrust Mortgage, Inc., No. 13-62801, 2014 WL 1365425 (S.D. Fla. April 7, 2014) (escrow
   holder owes fiduciary duty to the parties to the escrow transaction). As Plaintiff’s tort claims
   against People’s Bank are based on this independent duty, which exists outside the terms of the
   Escrow Agreements, the claims are not barred by the economic loss rule. See Tiara Condo. Ass'n,
   Inc. v. Marsh, USA, Inc., 991 F. Supp. 2d 1271, 1279 (S.D. Fla. 2014) (on remand after certified

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   question answered by Florida Supreme Court, district court found negligence and breach of
   fiduciary duty claims are not contractually grounded “and therefore fall outside the reach of the
   ‘independent tort rule’”).
   VI.    PLAINTIFFS ADEQUATELY ALLEGE AIDING AND ABETTING CLAIMS
          Plaintiffs have alleged claims against People’s Bank for aiding and abetting fraud and
   aiding and abetting breach of fiduciary duty under both Vermont and Florida law, which are
   substantially similar. Under the laws of both states, a claim for aiding and abetting requires proof
   of (1) the existence of a primary violation; (2) knowledge of this violation on the part of the aider
   and abettor; and (3) substantial assistance by the aider and abettor in the achievement of the
   primary violation. See Montgomery v. Devoid, 915 A.2d 270, 278 (Vt. 2006); ZP No. 54 Ltd.
   P’ship v. Fidelity and Deposit Co. of Maryland, 917 So. 2d 368, 372 (Fla. 5th DCA 2005).
          People’s Bank argues that Plaintiffs do not allege the elements of actual knowledge or
   substantial assistance. However, “the Eleventh Circuit has determined that ‘a person may be held
   as an aider and abettor … if the accused party has a general awareness that his role was part of an
   overall activity that is improper, and if the accused aider-abettor knowingly and substantially
   assisted the violation.’” Smith v. First Union Nat’l Bank, No. 00-cv-4485, 2002 WL 31056104, at
   *2 (S.D. Fla. Aug. 23, 2002) (quoting Woods v. Barnett Bank of Ft. Lauderdale, 765 F.2d 1004,
   1009 (11th Cir. 1985)). Here, both elements are adequately pled.
          First, Plaintiffs have pled that People’s Bank had actual knowledge of the fraud by Quiros
   and the breaches of fiduciary duty by the General Partner of the Limited Partnerships. When
   analyzing the “general awareness” requirement, courts have “noted that the surrounding
   circumstances and expectations of the parties [a]re critical, because knowledge of the existence of
   a violation must usually be inferred.” Id. Circumstantial evidence supporting general awareness
   of fraud may include facts available to a financial institution’s employees. Id. at *4.
          Plaintiffs allege that People’s Bank improperly transferred funds from accounts in the name
   of a specific phase of the EB-5 Projects, to accounts at Raymond James belonging to another phase,
   as well as accounts in the name of Q Burke. (Am. Compl. ¶ 107.) They further allege that People’s
   Bank knew that these transfers were improper because the Limited Partnership Agreements for
   each phase required that once the requirements were met for release of the escrowed investor funds,
   those funds were to be “immediately and irrevocably” committed to that specific phase of the EB-
   5 Project. (Id. ¶ 108.) The significant number of transfers in and out of the People’s Bank escrow

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   accounts to effect commingling of partnership funds, and transfers of funds to a non-bank, alerted
   People’s Bank to illegal conduct in the administration and use of investor funds. (Id.)8
          Because People’s Bank, as escrow agent, had a fiduciary obligation and thus a duty to
   disclose known facts to the parties to the escrow transaction, liability may attach without a
   “conscious intent” to aid the primary wrongdoer. Smith, 2002 WL 3105614, at *3. In Smith, the
   defendant bank had no fiduciary duty to the plaintiffs, and thus no duty to disclose. However,
   even under those circumstances, the court found that “atypical” banking activity which would have
   been known to a bank employee was sufficient to create a disputed fact on the issue of the bank’s
   knowledge, using the higher standard of “conscious intent.” Id. See also Chaney v. Dreyfus
   Service Corp., 595 F.3d 219, 236 (5th Cir. 2010) (jury could conclude that broker-dealer’s
   fiduciary duty to its customer required more than turning a blind eye to extraordinary financial
   transactions); Neilson v. Union Bank of Cal., 290 F. Supp. 2d 1101 (C.D. Cal. 2003) (allegations
   of bank’s use of atypical banking procedures raised inference that they knew of the Ponzi scheme
   and supported general allegations of knowledge for aiding and abetting).
          Further, Plaintiffs allege that People’s Bank substantially assisted in the fraud and breaches
   of fiduciary duty. “Substantial assistance occurs when a defendant affirmatively assists, helps
   conceal, or fails to act when required to do so, thereby enabling the [underlying tort] to occur.”
   Gevaerts v. TD Bank, N.A., 56 F. Supp. 3d 1335, 1342 (S.D. Fla. 2014). People’s Bank’s
   arguments that Plaintiffs allege only that it “lent an air of legitimacy to the fraud” or that there is
   no “causal link” between its conduct and Plaintiffs’ losses (Motion to Dismiss, at 17-18) ignores
   that the Amended Complaint is replete with allegations of specific wrongful transfers by People’s
   Bank of investor funds, including transfers from escrow accounts at People’s Bank to accounts at
   Raymond James belonging to another phase, transfers to accounts of Quiros-controlled entities
   including Q Burke and Jay Construction Management, Inc., and transfers to a non-bank in violation
   of the Limited Partnership Agreements, all of which substantially assisted the fraud and breaches



   8
     The cases cited by People’s Bank on pages 16-17 of their Motion to Dismiss all involved mere
   allegations that the defendant bank should have known of the underlying fraud or fiduciary breach
   based solely on atypical banking transactions and other “red flags” of fraud. See, e.g., Lamm v.
   State Street Bank & Trust, 749 F.3d 938 (11th Cir. 2014); Perlman v. Wells Fargo Bank, N.A., 559
   F. App’x 988 (11th Cir. 2014). Here, Plaintiffs allege facts supporting that People’s Bank actually
   knew that investor funds were being improperly commingled and misused.


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   of fiduciary duty. (Am. Compl. ¶¶57, 67, 89, 106-108.)9 Plaintiffs state a claim against People’s
   Bank for aiding and abetting fraud and breach of fiduciary duty.
   VII.   PLAINTIFFS ADEQUATELY ALLEGE A CIVIL CONSPIRACY CLAIM
          Finally, Plaintiffs allege a claim for civil conspiracy against People’s Bank. Plaintiffs
   allege an agreement made in the first half of 2008 by Quiros and each of Raymond James, Burstein,
   and People’s Bank to induce Plaintiffs and the Class to invest millions of dollars into the Limited
   Partnerships and to commit the fraud and breach of fiduciary duties described in the Amended
   Complaint and enumerated above. (Id. ¶ 284.) Plaintiffs further allege substantial overt acts in
   furtherance of the conspiracy, and specifically allege the acts of People’s Bank in releasing
   investors’ funds to Raymond James despite knowing that the transfers violated the subscription
   documents and escrow obligations owed by People’s Bank to the investors. (Id. ¶ 285.)
          As courts have noted, the very nature of a conspiracy permits such a claim to be pleaded
   and proven by circumstantial evidence. See United States v. Arias-Izquierdo, 449 F.3d 1168, 1182
   (11th Cir. 2006). For this reason, courts have denied motions to dismiss conspiracy claims even
   where the complaint only circumstantially shows an agreement.           See Koch v. Royal Wine
   Merchants, Ltd., 907 F. Supp. 2d 1332, 1346-47 (S.D. Fla. 2012) (“In the instant case, Plaintiff
   has alleged a number of facts that circumstantially indicate an agreement between Royal and
   Rodenstock.”). The allegations of conspiracy against People’s Bank are more than circumstantial.
                                            CONCLUSION
          People’s Bank was a substantial and active participant in a massive fraud that caused
   millions of dollars in damages to Plaintiffs and the Class. The Motion to Dismiss should be denied.




   9
    People’s Bank relies on Montgomery in attempting to engraft onto a claim of aiding and abetting
   under Vermont law, the requirement that Plaintiffs allege that the aider and abettor received a
   “personal benefit” from the commission of the underlying tort. (Motion to Dismiss, at 15, 19.)
   However, the court in Montgomery explicitly set forth the three elements of an aiding and abetting
   claim, and did not include the requirement of a “personal benefit” as an additional element of the
   claim. 915 A.2d at 278. Clearly, in Montgomery, a case involving a claim for conversion, the
   plaintiff’s inability to demonstrate that defendant received a personal benefit is mentioned because
   courts have found that liability for assisting in a conversion is “especially applicable where the
   defendant received a benefit from the conversion.” Id. (Citation omitted).
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                                          Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on

   October 25, 2016, on all counsel of record via the manner stated in the service list below.


                                                                By: /s/Thomas A. Tucker Ronzetti




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